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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 Jessica Jennings, individually and on behalf of all others
 similarly situated,                                                    Civil Action No: ____________
                                          Plaintiff,
                                                                         CLASS ACTION COMPLAINT

                                                                          DEMAND FOR JURY TRIAL




        -v.-
 Mary Jane M. Elliot P.C., Midland Funding, LLC
 and John Does 1-25.

                                       Defendant(s).


       Plaintiff Jessica Jennings (hereinafter, “Plaintiff”), a Michigan resident, brings this Class

Action Complaint by and through her attorneys against Defendant Mary Jane M. Elliot P.C.,

(hereinafter “Defendant Mary Jane”) and Defendant Midland Funding, LLC (hereinafter

“Defendant Midland”) individually and on behalf of a class of all others similarly situated, pursuant

to Rule 23 of the Federal Rules of Civil Procedure, based upon information and belief of Plaintiff’s

counsel, except for allegations specifically pertaining to Plaintiff, which are based upon Plaintiff's

personal knowledge.



                      INTRODUCTION/PRELIMINARY STATEMENT

       1.      Congress enacted the Fair Debt Collection Practices Act (hereinafter “the FDCPA”

   or “Act”) in 1977 in response to the "abundant evidence of the use of abusive, deceptive, and

   unfair debt collection practices by many debt collectors." 15 U.S.C. §1692(a). At that time,

   Congress was concerned that "abusive debt collection practices contribute to the number of

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personal bankruptcies, to material instability, to the loss of jobs, and to invasions of individual

privacy." Id. Congress concluded that "existing laws…[we]re inadequate to protect consumers,"

and that "'the effective collection of debts" does not require "misrepresentation or other abusive

debt collection practices." 15 U.S.C. §§ 1692(b) & (c).

   2.      Congress explained that the purpose of the Act was not only to eliminate abusive

debt collection practices, but also to "insure that those debt collectors who refrain from using

abusive debt collection practices are not competitively disadvantaged." Id. § 1692(e). “After

determining that the existing consumer protection laws ·were inadequate.” Id. § l692(b),

Congress gave consumers a private cause of action against debt collectors who fail to comply

with the Act. Id. § 1692k.

                                JURISDICTION AND VENUE

   3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331 and

15 U.S.C. § 1692 et. seq. The Court has pendent jurisdiction over any state law claims in this

action pursuant to 28 U.S.C. § 1367(a).

   4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2), as this is

where the Plaintiff resides as well as where a substantial part of the events or omissions giving

rise to the claim occurred.

                                   NATURE OF THE ACTION

   5.      Plaintiff brings this class action on behalf of a class of Michigan consumers under

§1692 et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt

Collections Practices Act ("FDCPA"), and

   6.      Plaintiff is seeking damages and declaratory relief.
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                                           PARTIES

   7.      Plaintiff is a resident of the State of Michigan, County of Muskegon residing at 2232

5th Street, Muskegon, MI, 49444.

   8.      Defendant Mary Jane is a "debt collector" as the phrase is defined in 15 U.S.C.

§ 1692(a)(6) and used in the FDCPA with an address at 24300 Karim Boulevard, Novi, MI

48375.

   9.      Upon information and belief, Defendant Mary Jane is a company that uses the mail,

telephone, and facsimile and regularly engages in business the principal purpose of which is to

attempt to collect debts alleged to be due another.

   10.     Defendant Midland is a "debt collector" as the phrase is defined in 15 U.S.C.

§ 1692(a)(6) and used in the FDCPA with an address at 320 East Big Beaver, Ste 300, Troy, MI

48083.

   11.     Upon information and belief, Defendant Midland is a company that uses the mail,

telephone, and facsimile and regularly engages in business the principal purpose of which is to

attempt to collect debts alleged to be due another.

   12.     John Does l-25, are fictitious names of individuals and businesses alleged for the

purpose of substituting names of Defendants whose identities will be disclosed in discovery and

should be made parties to this action.

                                    CLASS ALLEGATIONS

   13.     Plaintiff brings this claim on behalf of the following case, pursuant to Fed. R. Civ.

P. 23(a) and 23(b)(3).

   14.     The Class consists of:
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            a. all individuals with addresses in the State of Michigan;

            b. for which the Defendant Mary Jane sent a collection letter;

            c. on behalf of Defendant Midland;

            d. in which the letter makes a settlement offer that expires prior to the date of the

               letter and no balance is mentioned in the letter;

            e. which action was taken on or after a date one (1) year prior to the filing of this

               action and on or before a date twenty-one (2l) days after the filing of this action.

   15.      The identities of all class members are readily ascertainable from the records of

Defendants and those companies and entities on whose behalf they attempt to collect and/or

have purchased debts.

   16.      Excluded from the Plaintiff Class are the Defendants and all officer, members,

partners, managers, directors and employees of the Defendants and their respective immediate

families, and legal counsel for all parties to this action, and all members of their immediate

families.

   17.      There are questions of law and fact common to the Plaintiff Class, which common

issues predominate over any issues involving only individual class members. The principal issue

is whether the Defendants' written communications to consumers, in the forms attached as

Exhibit A, violate 15 U.S.C. §§ l692e.

   18.      The Plaintiff’s claims are typical of the class members, as all are based upon the same

facts and legal theories. The Plaintiff will fairly and adequately protect the interests of the

Plaintiff Class defined in this complaint. The Plaintiff has retained counsel with experience in

handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff
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nor her attorneys have any interests, which might cause them not to vigorously pursue this

action.

   19.     This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

well-defined community interest in the litigation:

           a. Numerosity: The Plaintiff is informed and believes, and on that basis alleges,

               that the Plaintiff Class defined above is so numerous that joinder of all members

               would be impractical.

           b. Common Questions Predominate: Common questions of law and fact exist as

               to all members of the Plaintiff Class and those questions predominance over any

               questions or issues involving only individual class members. The principal issue

               is \whether the Defendants' written communications to consumers, in the forms

               attached as Exhibit A violate 15 USC §l692e.

           c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

               The Plaintiff and all members of the Plaintiff Class have claims arising out of the

               Defendants' common uniform course of conduct complained of herein.

           d. Adequacy: The Plaintiff will fairly and adequately protect the interests of the

               class members insofar as Plaintiff has no interests that are adverse to the absent

               class members. The Plaintiff is committed to vigorously litigating this matter.

               Plaintiff has also retained counsel experienced in handling consumer lawsuits,

               complex legal issues, and class actions. Neither the Plaintiff nor her counsel have

               any interests which might cause them not to vigorously pursue the instant class

               action lawsuit.
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           e. Superiority: A class action is superior to the other available means for the fair

               and efficient adjudication of this controversy because individual joinder of all

               members would be impracticable. Class action treatment will permit a large

               number of similarly situated persons to prosecute their common claims in a single

               forum efficiently and without unnecessary duplication of effort and expense that

               individual actions would engender.

   20.     Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

is also appropriate in that the questions of law and fact common to members of the Plaintiff

Class predominate over any questions affecting an individual member, and a class action is

superior to other available methods for the fair and efficient adjudication of the controversy.

   21.     Depending on the outcome of further investigation and discovery, Plaintiff may, at

the time of class certification motion, seek to certify a class(es) only as to particular issues

pursuant to Fed. R. Civ. P. 23(c)(4).


                                   FACTUAL ALLEGATIONS

   22.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered above herein with the same force and effect as if the same were set forth at length

herein.

   23.     Some time prior to March 16, 2020 an obligation was allegedly incurred by Plaintiff.

   24.     The alleged obligation arose out of transactions in which money, property, insurance

or services which were the subject of the transactions were used to purchase items primarily for

personal, family or household purposes.

   25.     The alleged obligation is a "debt" as defined by 15 U.S.C.§ 1692a(5).

   26.     The owner of the alleged obligation is a "creditor" as defined by 15 U.S.C.§ 1692a(4).
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    27.     The owner of the obligation purportedly sold the alleged debt to Defendant Midland

who contracted with the Defendant Mary Jane to collect the alleged debt.

    28.     Defendants collect and attempt to collect debts incurred or alleged to have been

incurred for personal, family or household purposes on behalf of creditors using the United

States Postal Services, telephone and internet.


                                   Violation – March 16, 2020 Letter

    29.     On or about March 16, 2020, Defendant Mary Jane sent Plaintiff a collection letter

(the “Letter”) regarding the alleged debt currently owed to Defendant Midland. See a true and

correct copy of the Letter attached hereto as Exhibit A.

    30.     The letter makes a settlement offer of $986 to the Plaintiff and states that the

settlement is due by March 12, 2020.

    31.     The letter is dated March 16, 2020 and yet the settlement offer is due by March 12,

2020.

    32.     It is impossible to comply with a settlement offer that contains a due date that expires

four days prior to the date of the letter.

    33.     It is deceptive to make a settlement offer that is impossible for the consumer to

comply with.

    34.     Moreover, the letter does not even mention the actual balance and therefore Plaintiff

cannot make an informed decision whether to accept the settlement.

    35.     It is deceptive to make a settlement offer without stating the actual balance because

the consumer cannot make an informed decision whether to accept the settlement.

    36.     As a result of Defendant’s deceptive, misleading and coercive debt collection

practices, Plaintiff has been damaged.
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                             COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                               et seq.

       1.      Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

   above herein with the same force and effect as if the same were set forth at length herein.

       2.      Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

   violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

       3.      Pursuant to 15 U.S.C. § 1692e, a debt collector may not use any false, deceptive, or

   misleading representation or means in connection with the collection of any debt.

       4.      Defendant violated § 1692e:

               a. As the Letter is open to more than one reasonable interpretation, at least one of

                   which is inaccurate.

               b. By making a false and misleading representation in violation of §1692e(10).

       5.      By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

   conduct violated Section 1692e et seq. of the FDCPA, and Plaintiff is entitled to an award of

   actual damages, statutory damages, costs and attorneys’ fees.


                                 DEMAND FOR TRIAL BY JURY

       6.      Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

   a trial by jury on all issues so triable.



                                         PRAYER FOR RELIEF

WHEREFORE, Plaintiff Jessica Jennings, individually and on behalf of all others similarly

situated, demands judgment from Defendant Mary Jane and Defendant Midland, as follows:
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   1.       Declaring that this action is properly maintainable as a Class Action and certifying

Plaintiff as Class representative, and Yaakov Saks, Esq. as Class Counsel;

   2.       Awarding Plaintiff and the Class statutory damages;

   3.       Awarding Plaintiff and the Class actual damages;

   4.       Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

expenses;

   5.       Awarding pre-judgment interest and post-judgment interest; and

   6.       Awarding Plaintiff and the Class such other and further relief as this Court may deem

just and proper.


   Dated: December 9, 2020                               Respectfully Submitted,

                                                         /s/ Yaakov Saks
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